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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA,                       §
          Plaintiff,                            §
                                                §
v.                                              §    Civil Action No.: 3:19-cr-318-K (01)
                                                §
SANJAY NANDA,                                   §
          Defendant.

                          MOTION TO WITHDRAW AS COUNSEL

        COME NOW, Edwin J. Tomko, attorney of record for Defendant Nanda in this matter,

and respectfully request leave to withdraw as counsel for Nanda for all purposes.

        Mr. Nanda has retained Robert R. Smith to represent him in connection with all matters

relating to this cause.



DATED: August 23, 2019                              Respectfully submitted,

                                                    /s/Edwin J. Tomko
                                                    EDWIN J. TOMKO
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                                                    ATTORNEYS FOR SANJAY NANDA




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                            CERTIFICATE OF SERVICE
      I hereby certify that on this 23rd day of August, 2019, I electronically filed the

foregoing MOTION TO WITHDRAW AS COUNSEL with the Clerk of the Court using the

CM/ECF system.



                                           /s/ Edwin J. Tomko
                                           Edwin J. Tomko




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